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           /s/ Taylor Perkins




           /s/ David C. Johnson                             2/6/2025
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                            B                14.75333%




                            B                 29.5291%



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  2/6/2025                                   /s/ Taylor Perkins
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2/6/2025                        /s/ David C. Johnson
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                              YORK BEACH SURF CLUB, LLC
                               CONSENT OF SOLE MANAGER

       The undersigned, being the sole Manager of York Beach Surf Club, LLC (the “Company”)
hereby takes the following action by this written consent:

       RESOLVED: That the Company shall be and hereby is authorized to file a voluntary
       petition for relief under Chapter 11 of Title 11 of the United States Code; thereby initiating
       a proceeding for reorganization pursuant to Chapter 11 of the United States Bankruptcy
       Code; and it is further

       RESOLVED: That the Company shall be and hereby is authorized to execute, deliver and
       file such original petitions, schedules, statements, motions or pleadings as may be
       necessary or appropriate in connection with the filing and prosecution of such proceedings;
       and it is further

       RESOLVED: That the Company shall be and hereby is authorized to file a Plan of
       Reorganization and a Disclosure Statement in such Chapter 11 proceedings; and it is further

       RESOLVED: That the Company shall be and hereby is authorized to retain the services of
       the law firm Marcus ∣ Clegg of Portland, Maine, as its Chapter 11 counsel in connection
       with said Chapter 11 proceedings, upon such terms and conditions as the Manager of the
       Company shall determine; and it is further

       RESOLVED: That the Manager or any officer of the Company, acting singly, and without
       the necessity of counter-signature, shall be and hereby is authorized to execute, deliver, and
       file such documents, agreements, motions, and other pleadings, as he or she, with the
       advice of counsel, may deem necessary or appropriate in order to commence, prosecute,
       and conclude said Chapter 11 proceedings, including, without limitation, the filing of an
       original petition under Chapter 11, the filing of a Plan of Reorganization and a Disclosure
       Statement.

       This Consent shall be filed with the minutes of the Manager’s Meetings.



       DATED: February 6, 2025

                                                     __/s/ Taylor Perkins_________________
                                                     Taylor Perkins
                                                     Manager
